Case 2:05-cr-20146-.]PI\/| Document 19 Filed 08/29/05 Page 1 of 3 Page|D 22

IN THE UNITED STA'I'ES DIS'I`RICT COUR'I' wg{___ __.____..D£\
FOR THE WESTER_N DISTRICT OF TENNESSEE

WESTERN DIVISION osgm 29 AH 63 I'3

 

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`lHOMiS M. G'
usa u.s. messer wm

UNITED sTATEs op AMERICA w;DOFTN MEMPHS

Plaintiff,

Criminal No.oz_ ~ R°'VE Ml

D@M;/)A HEA/ sv/L/ (SO~Day Continuance)

 

 

 

 

 

VV\_/Vvvv\_/Vvvvv~_/VVVWV

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

This document entered on the docket sheet ira commence /
with F|ule 55 andfor 32(b) FHCrP on /" ’

Case 2:05-cr-20146-.]PI\/| Document 19 Filed 08/29/05 Page 2 of 3 Page|D 23

so oRDERED this 26th day of August 2005.

QM\CQQ

 

PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

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/r '\{

Assistant United States Attorney

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Counsel for Defendant(s)

   

UNITED sTATE ISTRIC COURT - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20146 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

J uni S. Ganguli

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Honorable J on McCalla
US DISTRICT COURT

